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8                          IN THE UNITED STATES DISTRICT COURT
9                             EASTERN DISTRICT OF CALIFORNIA
10
                                  )
11   UNITED STATES OF AMERICA,    ) CASE NO. 2:11-CR-00429 JAM
                                  )
12           Plaintiff,           )
                                  )
13   v.                           ) STIPULATION AND ORDER
                                  ) CONTINUING DATE FOR
14   CHRISTOPHER WARREN MACQUEEN, ) GOVERNMENT REPLY BRIEFS UNTIL
     DOUGLAS ARTHUR JOHNSON, and  ) DECEMBER 21, 2012
15   SCOTT HAMILTON DURHAM,       )
                                  )
16           Defendants.          )
                                  )
17

18          The parties appeared before the Court on November 13, 2012, and set a date for the

19   United States reply briefs to the defendants’ motions filed on or about October 19, 2012.

20   At that time, the United States was ordered to file its reply brief no later than December

21   11, 2012. Any additional motions to be filed by any defendant were due no later than

22   January 8, 2013. The United States reply to these additional motions was ordered due on

23   January 22, 2013. A motion hearing for all motions was set for February 12, 2013, at 1:30

24   p.m.

25          The Court granted the parties’ stipulation to continue the United States reply date

26   to December 18, 2012. The United States hereby requests a second continuance to file its

27   replies to December 21, 2012. The parties who have either filed or joined motions to which

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1    the United States was ordered to reply no later than December 18, 2012, do not object to
2    this second continuance. The parties further stipulate that time should continue to be
3    excluded from the calculation of time under the Speedy Trial Act until the conclusion of
4    the hearing on, or other prompt resolution of, the motion to suppress by the Court. 18
5    U.S.C. § 3161(h)(1)(D); Local Code E.
6    Dated: December 18, 2012                     Respectfully Submitted,
7                                                 BENJAMIN B. WAGNER
                                                  United States Attorney
8

9
                                             By: /s/ Kyle Reardon
10                                               KYLE REARDON
                                                 Assistant U.S. Attorney
11

12
     Dated: December 18, 2012                     /s/ Kyle Reardon for
13                                                MALCOLM SEAGAL
                                                  Attorney for Christopher Macqueen
14

15
     Dated: December 18, 2012                     /s/ Kyle Reardon for
16                                                TOM JOHNSON
                                                  Attorney for Doug Johnson
17

18
     Dated: December 18, 2012                     /s/ Kyle Reardon for
19                                                WILLIAM PORTANOVA
                                                  Attorney for Scott Durham
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                                                                    Stipulation and Proposed Order
                                                  2                      United States v. Macqueen
                                                                                2:11-CR-00429 JAM
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8                          IN THE UNITED STATES DISTRICT COURT
9                             EASTERN DISTRICT OF CALIFORNIA
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                                  )
11   UNITED STATES OF AMERICA,    ) CASE NO. 2:11-CR-00429 JAM
                                  )
12           Plaintiff,           )
                                  )
13   v.                           ) ORDER GRANTING PARTIES’
                                  ) STIPULATION CONTINUING DATE
14   CHRISTOPHER WARREN MACQUEEN, ) FOR GOVERNMENT REPLY BRIEF
     DOUGLAS ARTHUR JOHNSON, and  ) UNTIL DECEMBER 21, 2012
15   SCOTT HAMILTON DURHAM,       )
                                  )
16           Defendants.          )
                                  )
17

18                The parties’ stipulation is approved and so ordered. The United States reply

19   to the motions filed or joined on or about October 19, 2012, shall be continued from

20   December 18, 2012, to December 21, 2012. All other dates ordered at the November 13,

21   2012 status conference will remain the same.

22         Time shall continue to be excluded from the calculation of time under the Speedy

23   Trial Act until the conclusion of the hearing on, or other prompt resolution of, the motion

24   to suppress by the Court. 18 U.S.C. § 3161(h)(1)(D); Local Code E.

25   Dated: 12/18/2012
                                                     /s/ John A. Mendez
26                                                  JOHN A. MENDEZ
                                                    United States District Court Judge
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